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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
                                          :
UNITED STATES OF AMERICA,
                                          :
                  Plaintiff,
                                          :                  JUDGMENT OF FORFEITURE
                    -v.-
                                          :                   20 CIV. 6173 (PGG)
$38,406,717.42 IN UNITED STATES CURRENCY,
                                          :
                  Defendant-in-rem.
                                          :

                                      :
--------------------------------------x

                WHEREAS, on or about August 6, 2020, the United States of America

 (the “United States” or the “Government”) filed a Verified Complaint for Forfeiture (“Verified

 Complaint”) seeking to forfeit $38,406,717.42 in United States currency (the “Defendant Funds”)

 as constituting proceeds of violations of the federal Anti-Kickback Statute in pursuant to Title 18,

 United States Code, Section 981(a)(1)(C). (D.E. 1);

                WHEREAS, about June 29, 2020, Novartis and the United States entered into a

 Stipulation and Order of Settlement and Dismissal (the “Stipulation”) in United States, et al. ex

 rel. Bilotta v. Novartis Pharmaceuticals Corp. (“Novartis”), No. 11 Civ. 071 (PGG), wherein,

 inter alia, Novartis agreed to forfeit $38,406,717.42, (the “Defendant Funds”), to the United States

 as proceeds of Novartis’s violations of the federal Anti-Kickback Statute;

                WHEREAS, on or about July 21, 2020, Novartis transferred the Defendant Funds

 to the United States Marshals Service in the Southern District of New York;

                WHEREAS, beginning on or about August 14, 2020, and continuing through

 September 12, 2020, the Government published notice of the Verified Complaint against the

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Defendant Funds, on the official government internet site, www.forfeiture.gov for at least 30

consecutive days, and proof of such publication was filed with the Clerk of this Court on October

15, 2020 (D.E. 4).

               WHEREAS, as set forth in Rule G(4)(a)(ii) and Rule G(5)(a)(ii) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Claims, the notice of

forfeiture specified the Defendant Funds and the intent of the United States to forfeit and dispose

of the Defendant Funds, thereby notifying all third parties of their right to file a claim to adjudicate

the validity of their alleged legal interest in the Defendant Funds, within sixty days from the first

day of publication of the Notice on the official government internet site;

               WHEREAS, on or about August 14, 2020, the Government sent direct notice of the

Verified Complaint to the following counsel for Novartis via electronic mail:

                                       Evan R. Chesler, Esq.
                                       Rachel G. Skaistis, Esq.
                                       Benjamin Gruenstein, Esq.
                                       Cravath, Swaine, & Moore LLP
                                       Worldwide Plaza
                                       825 Eighth Avenue
                                       New York, New York 10019
                                       Email: echesler@cravath.com
                                              rskaistis@cravath.com
                                              bgruenstein@cravath.com

                                       James E. Miller
                                       Laurie Rubinow
                                       Shepherd Finkelman Miller & Shah, LLP
                                       65 Main Street
                                       Chester, CT 06412
                                       Email: jmiller@sfmslaw.com
                                              lrubinow@sfmslaw.com

               WHEREAS, Novartis is the only individual and/or entity known to the Government

to have a potential interest in the Defendant Funds; and


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               WHEREAS, no claims or answers have been filed or made in this action and no

parties have appeared to contest the action, and the requisite time periods in which to do so, as set

forth in Title 18, United States Code, Section 983(a)(4)(A) and Rule G of the Supplemental Rules

for Admiralty or Maritime Claims and Asset Forfeiture Claims, have expired;

               IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

               1.      The Defendant Funds shall be, and the same hereby is forfeited to the

Plaintiff United States of America.

               2.      The United States Marshals Service (or its designee) shall dispose of the

Defendant Funds, according to law.

               3.      The Clerk of the Court shall forward four certified copies of this Judgment

of Forfeiture to Assistant United States Attorney, Alexander J. Wilson, Co-Chief of the Money

Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s Plaza, New York,

New York, 10007.
               The Clerk of the Court is directed to close the case.
Dated: New York, New York
               16 2020
       October___,

                                              SO ORDERED:



                                              THE HONORABLE PAUL G. GARDEPHE
                                              UNITED STATES DISTRICT JUDGE




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